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                                                                                                                              INVOICE
                                                                                                                     From     Texas Appleseed
                                                                                                                              1609 Shoal Creek Blvd
                                                                                                                              Ste 201
                                                                                                                              Austin, TX 78701




Invoice ID        23                                                                                           Invoice For    Texas DFPS/HHSC
Issue Date        07/13/2021

Due Date          08/12/2021 (Net 30)

Subject           Texas Appleseed Monitoring Team; June 2021




Item Type         Description                                                                                     Quantity           Unit Price           Amount

Service           Texas Foster Care Court Monitoring - Travel (06/01/2021 - 06/30/2021)                              80.58            $161.52          $13,015.57


Product           Texas Foster Care Court Monitoring - Travel - 06/22/2021 - Meals / Linda Brooke                     1.00            $108.17            $108.17


Product           Texas Foster Care Court Monitoring - Travel - 06/22/2021 - Mileage / Linda Brooke                  88.00                $0.56           $49.28


Product           Texas Foster Care Court Monitoring - Travel - 06/23/2021 - Mileage / Linda Brooke                  76.00                $0.56           $42.56


Product           Texas Foster Care Court Monitoring - Travel - 06/23/2021 - Meals / Linda Brooke                     1.00            $127.87            $127.87


Product           Texas Foster Care Court Monitoring - Travel - 06/30/2021 - Mileage / Linda Brooke                276.00                 $0.56          $154.56


Product           Texas Foster Care Court Monitoring - Travel - 06/30/2021 - Lodging / Linda Brooke                   1.00            $157.69            $157.69


Product           Texas Foster Care Court Monitoring - Travel - 06/30/2021 - Lodging / Shay Price                     1.00            $157.69            $157.69


Service           Texas Foster Care Monitoring (06/01/2021 - 06/30/2021)                                          1,174.71            $304.35         $357,526.15



                                                                                                                             Amount Due           $371,339.54




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.
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                                                                                            INVOICE
                                                                                   From     Texas Appleseed
                                                                                            1609 Shoal Creek Blvd
                                                                                            Ste 201
                                                                                            Austin, TX 78701




Invoice ID       23                                                           Invoice For   Texas DFPS/HHSC
Issue Date       07/13/2021

Due Date         08/12/2021 (Net 30)

Subject          Texas Appleseed Monitoring Team; June 2021




Item Type        Description                                                     Quantity         Unit Price        Amount

Service          Texas Foster Care Court Monitoring - Travel - 06/22/2021 -         2.00           $100.00          $200.00
                 Travel / Cassie Davis


Service          Texas Foster Care Court Monitoring - Travel - 06/22/2021 -         2.90           $162.50          $471.25
                 Travel / Victoria Foster


Service          Texas Foster Care Court Monitoring - Travel - 06/22/2021 -         0.75           $162.50          $121.88
                 Travel / Victoria Foster


Service          Texas Foster Care Court Monitoring - Travel - 06/22/2021 -         0.75           $162.50          $121.88
                 Travel / Victoria Foster


Service          Texas Foster Care Court Monitoring - Travel - 06/22/2021 -         2.17           $125.00          $271.25
                 Travel / Shay Price


Service          Texas Foster Care Court Monitoring - Travel - 06/22/2021 -         1.25           $197.50          $246.88
                 Travel / Beth Mitchell


Service          Texas Foster Care Court Monitoring - Travel - 06/22/2021 -         1.75           $125.00          $218.75
                 Travel / Mahiri Moody


Service          Texas Foster Care Court Monitoring - Travel - 06/22/2021 -         2.00           $212.50          $425.00
                 Travel / Deborah Fowler


Service          Texas Foster Care Court Monitoring - Travel - 06/22/2021 -         2.25           $197.50          $444.38
                 Travel / Linda Brooke


Service          Texas Foster Care Court Monitoring - Travel - 06/22/2021 -         2.17           $125.00          $271.25
                 Travel / Veronica Lockett-Villalpando


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Service       Texas Foster Care Court Monitoring - Travel - 06/22/2021 -   2.75   $125.00   $343.75
              Travel / Veronica Lockett-Villalpando


Service       Texas Foster Care Court Monitoring - Travel - 06/22/2021 -   1.25   $100.00   $125.00
              Travel / Adrian Gaspar


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   3.50   $100.00   $350.00
              Travel / Cassie Davis


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   3.50   $125.00   $437.50
              Travel / Shay Price


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   3.50   $197.50   $691.25
              Travel / Beth Mitchell


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   0.75   $162.50   $121.88
              Travel / Victoria Foster


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   0.50   $162.50    $81.25
              Travel / Victoria Foster


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   1.25   $162.50   $203.13
              Travel / Victoria Foster


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   0.50   $162.50    $81.25
              Travel / Victoria Foster


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   1.25   $125.00   $156.25
              Travel / Mahiri Moody


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   3.50   $212.50   $743.75
              Travel / Deborah Fowler


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   2.42   $197.50   $477.95
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   3.00   $162.50   $487.50
              Travel / Clarice Rogers


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   0.67   $125.00    $83.75
              Travel / Veronica Lockett-Villalpando


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   0.50   $125.00    $62.50
              Travel / Veronica Lockett-Villalpando


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   1.00   $125.00   $125.00
              Travel / Veronica Lockett-Villalpando


Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -   0.75   $125.00    $93.75
              Travel / Veronica Lockett-Villalpando




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Service       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -     3.17   $100.00    $317.00
              Travel / Adrian Gaspar


Service       Texas Foster Care Court Monitoring - Travel - 06/24/2021 -     3.50   $162.50    $568.75
              Travel / Victoria Foster


Service       Texas Foster Care Court Monitoring - Travel - 06/24/2021 -     1.50   $162.50    $243.75
              Travel / Victoria Foster


Service       Texas Foster Care Court Monitoring - Travel - 06/24/2021 -     0.33   $125.00     $41.25
              Travel / Mahiri Moody


Service       Texas Foster Care Court Monitoring - Travel - 06/24/2021 -     0.75   $197.50    $148.13
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 06/24/2021 -     1.50   $125.00    $187.50
              Travel / Veronica Lockett-Villalpando


Service       Texas Foster Care Court Monitoring - Travel - 06/24/2021 -     1.00   $125.00    $125.00
              Travel / Veronica Lockett-Villalpando


Service       Texas Foster Care Court Monitoring - Travel - 06/28/2021 -     8.00   $212.50   $1,700.00
              Travel / Deborah Fowler


Service       Texas Foster Care Court Monitoring - Travel - 06/28/2021 -     4.00   $212.50    $850.00
              EVE/WKND Travel / Deborah Fowler


Service       Texas Foster Care Court Monitoring - Travel - 06/30/2021 -     0.50   $162.50     $81.25
              Travel / Victoria Foster


Service       Texas Foster Care Court Monitoring - Travel - 06/30/2021 -     4.50   $197.50    $888.75
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 06/30/2021 -     3.25   $125.00    $406.25
              Travel / Shay Price


Product       Texas Foster Care Court Monitoring - Travel - 06/22/2021 -     1.00   $108.17    $108.17
              Meals / Linda Brooke


Product       Texas Foster Care Court Monitoring - Travel - 06/22/2021 -    88.00     $0.56     $49.28
              Mileage / Linda Brooke


Product       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -    76.00     $0.56     $42.56
              Mileage / Linda Brooke


Product       Texas Foster Care Court Monitoring - Travel - 06/23/2021 -     1.00   $127.87    $127.87
              Meals / Linda Brooke


Product       Texas Foster Care Court Monitoring - Travel - 06/30/2021 -   276.00     $0.56    $154.56
              Mileage / Linda Brooke




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Product       Texas Foster Care Court Monitoring - Travel - 06/30/2021 -        1.00   $157.69    $157.69
              Lodging / Linda Brooke


Product       Texas Foster Care Court Monitoring - Travel - 06/30/2021 -        1.00   $157.69    $157.69
              Lodging / Shay Price


Service       Texas Foster Care Monitoring - 06/01/2021 - Meetings with         1.50   $300.00    $450.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Monica
              Benedict


Service       Texas Foster Care Monitoring - 06/01/2021 - Project               1.50   $300.00    $450.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 06/01/2021 - Document              5.00   $300.00   $1,500.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 06/01/2021 -                       0.50   $300.00    $150.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/01/2021 -                       0.44   $300.00    $132.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/01/2021 -                       0.63   $300.00    $189.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/01/2021 - Document              8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/01/2021 - Document              2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 06/01/2021 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 06/01/2021 - Document              7.67   $325.00   $2,492.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/01/2021 - Meetings with         1.00   $325.00    $325.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 06/01/2021 - EVE/WKND              3.00   $395.00   $1,185.00
              Document Review/Data Analysis/Verification Work / Beth
              Mitchell


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Service       Texas Foster Care Monitoring - 06/01/2021 - Document           1.00   $425.00    $425.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/01/2021 - Document           8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 06/01/2021 - Document           1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/01/2021 - Document           7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/01/2021 - Document           8.00   $395.00   $3,160.00
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/01/2021 - Project            1.08   $395.00    $426.60
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/01/2021 - Document           8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/02/2021 - Project            1.50   $300.00    $450.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 06/02/2021 - Document           4.00   $300.00   $1,200.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 06/02/2021 -                    0.94   $300.00    $282.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/02/2021 -                    0.35   $300.00    $105.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/02/2021 -                    0.08   $300.00     $24.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/02/2021 -                    0.82   $300.00    $246.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/02/2021 - Document           8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/02/2021 - Document           8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


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Service       Texas Foster Care Monitoring - 06/02/2021 - Document           8.50   $325.00   $2,762.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/02/2021 - Document           6.25   $325.00   $2,031.25
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 06/02/2021 - Document           1.50   $425.00    $637.50
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/02/2021 - Document           8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 06/02/2021 - Document           7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/02/2021 - Document           9.00   $395.00   $3,555.00
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/02/2021 - Project            2.25   $395.00    $888.75
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/02/2021 - Document           8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/03/2021 -                    0.61   $300.00    $183.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/03/2021 -                    0.27   $300.00     $81.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/03/2021 -                    0.17   $300.00     $51.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/03/2021 -                    0.96   $300.00    $288.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/03/2021 -                    0.32   $300.00     $96.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/03/2021 - Document           0.03   $300.00      $9.00
              Review/Data Analysis/Verification Work / Robert McManus




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Service       Texas Foster Care Monitoring - 06/03/2021 - Document           4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 06/03/2021 - Document           6.33   $325.00   $2,057.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/03/2021 - Document           4.50   $325.00   $1,462.50
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 06/03/2021 - EVE/WKND           1.00   $425.00    $425.00
              Meetings with agency leadership, staff, clients, conference
              calls, time spent with team, plaintiffs consultants or other
              providers. / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/03/2021 - Document           4.67   $395.00   $1,844.65
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/04/2021 - Document           2.50   $325.00    $812.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/04/2021 - Document           4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 06/04/2021 - Document           1.75   $325.00    $568.75
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 06/04/2021 - EVE/WKND           0.25   $395.00     $98.75
              Meetings with agency leadership, staff, clients, conference
              calls, time spent with team, plaintiffs consultants or other
              providers. / Beth Mitchell


Service       Texas Foster Care Monitoring - 06/04/2021 - Document           2.00   $395.00    $790.00
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/05/2021 - EVE/WKND           7.50   $425.00   $3,187.50
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/06/2021 - EVE/WKND           5.50   $425.00   $2,337.50
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/07/2021 - Document           8.67   $325.00   $2,817.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/07/2021 - EVE/WKND           0.25   $395.00     $98.75
              Meetings with agency leadership, staff, clients, conference
              calls, time spent with team, plaintiffs consultants or other
              providers. / Beth Mitchell


Service       Texas Foster Care Monitoring - 06/07/2021 - EVE/WKND           6.00   $425.00   $2,550.00
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler


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Service       Texas Foster Care Monitoring - 06/07/2021 - Document           0.75   $325.00    $243.75
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 06/07/2021 - Document           3.75   $395.00   $1,481.25
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/08/2021 - Document           6.75   $325.00   $2,193.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/08/2021 - EVE/WKND           0.08   $300.00     $24.00
              Meetings with agency leadership, staff, clients, conference
              calls, time spent with team, plaintiffs consultants or other
              providers. / Robert McManus


Service       Texas Foster Care Monitoring - 06/08/2021 - EVE/WKND           5.75   $425.00   $2,443.75
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 06/08/2021 - Document           2.75   $325.00    $893.75
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 06/08/2021 - Document           2.00   $395.00    $790.00
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/09/2021 - Document           0.28   $300.00     $84.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 06/09/2021 - EVE/WKND           0.68   $300.00    $204.00
              Meetings with agency leadership, staff, clients, conference
              calls, time spent with team, plaintiffs consultants or other
              providers. / Robert McManus


Service       Texas Foster Care Monitoring - 06/09/2021 - Document           0.49   $300.00    $147.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 06/09/2021 - Document           1.07   $300.00    $321.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 06/09/2021 -                    0.15   $300.00     $45.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/09/2021 - Document           5.25   $325.00   $1,706.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/09/2021 - EVE/WKND           2.00   $425.00    $850.00
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 06/09/2021 - EVE/WKND           6.00   $425.00   $2,550.00
              Document Review/Data Analysis/Verification Work / Deborah
              Fowler


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Service        Texas Foster Care Monitoring - 06/09/2021 - Document              5.75   $325.00   $1,868.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/09/2021 - Document              3.50   $395.00   $1,382.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 06/10/2021 - Document              7.83   $325.00   $2,544.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/10/2021 - EVE/WKND              6.00   $425.00   $2,550.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/11/2021 - Meetings with         0.17   $300.00     $51.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Robert
               McManus


Service        Texas Foster Care Monitoring - 06/11/2021 - Project               2.00   $325.00    $650.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/11/2021 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/11/2021 - Meetings with         0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 06/11/2021 - EVE/WKND              2.00   $425.00    $850.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/11/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 06/12/2021 - EVE/WKND              6.00   $425.00   $2,550.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/13/2021 - Document              0.35   $300.00    $105.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 06/13/2021 - EVE/WKND              2.50   $425.00   $1,062.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/13/2021 - EVE/WKND              1.00   $425.00    $425.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler




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Service        Texas Foster Care Monitoring - 06/14/2021 -                       0.05   $300.00     $15.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 06/14/2021 - EVE/WKND              2.00   $425.00    $850.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/14/2021 - Document              8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/14/2021 - Document              0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 06/14/2021 - Document              1.75   $325.00    $568.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/15/2021 - Document              0.54   $300.00    $162.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 06/15/2021 - EVE/WKND              3.00   $425.00   $1,275.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/15/2021 - Document              8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/15/2021 - Meetings with         1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 06/15/2021 - Document              3.25   $325.00   $1,056.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/16/2021 - Document              6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 06/16/2021 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 06/16/2021 - Meetings with         1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Cassie
               Davis


Service        Texas Foster Care Monitoring - 06/16/2021 - Document              5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Cassie Davis




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Service        Texas Foster Care Monitoring - 06/16/2021 - Project                  1.00   $200.00    $200.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/16/2021 - Project                  2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 06/16/2021 - Meetings with            1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/16/2021 - Document                 4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 06/16/2021 - Document                 8.83   $325.00   $2,869.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 06/16/2021 - Meetings with            2.50   $325.00    $812.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 06/16/2021 - Document                 5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/16/2021 - Meetings with            1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 06/16/2021 - Document                 7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 06/16/2021 - Meetings with            1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 06/16/2021 - Document                 7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 06/16/2021 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 06/16/2021 - Document                 5.50   $325.00   $1,787.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/16/2021 - Meetings with            1.25   $395.00    $493.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


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Service        Texas Foster Care Monitoring - 06/16/2021 - Meetings with         1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 06/16/2021 - Document              1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 06/16/2021 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 06/16/2021 - Document              6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/16/2021 - Document              7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 06/16/2021 - Project               2.33   $395.00    $920.35
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 06/16/2021 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/17/2021 - Document              5.50   $200.00   $1,100.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 06/17/2021 - Meetings with         0.50   $300.00    $150.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 06/17/2021 - Project               0.50   $300.00    $150.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 06/17/2021 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 06/17/2021 - Document              9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 06/17/2021 - Meetings with         0.50   $425.00    $212.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/17/2021 - Document              1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 06/17/2021 - Document              8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Nancy Arrigona



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Service        Texas Foster Care Monitoring - 06/17/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 06/17/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 06/17/2021 - Document              4.75   $325.00   $1,543.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/17/2021 - Meetings with         0.50   $395.00    $197.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 06/17/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/17/2021 - Meetings with         0.75   $395.00    $296.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 06/17/2021 - Document              6.42   $395.00   $2,535.90
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 06/17/2021 - Project               0.42   $395.00    $165.90
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 06/17/2021 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 06/17/2021 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/18/2021 - Meetings with         2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 06/18/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 06/18/2021 - Document              1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 06/18/2021 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 06/18/2021 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict




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Service        Texas Foster Care Monitoring - 06/18/2021 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/18/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 06/18/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 06/18/2021 - Document              8.75   $325.00   $2,843.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 06/18/2021 - Document              0.75   $325.00    $243.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/18/2021 - Document              2.50   $395.00    $987.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 06/18/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/18/2021 - Document              5.75   $395.00   $2,271.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 06/18/2021 - Project               3.00   $395.00   $1,185.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 06/18/2021 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/19/2021 - Document              5.50   $425.00   $2,337.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 06/20/2021 - Document              1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 06/20/2021 - Document              2.50   $425.00   $1,062.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 06/21/2021 - Project               2.32   $200.00    $464.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/21/2021 - Meetings with         3.50   $250.00    $875.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 06/21/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman




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Service        Texas Foster Care Monitoring - 06/21/2021 - Meetings with          2.00   $325.00    $650.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 06/21/2021 - Meetings with          2.00   $200.00    $400.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Cassie
               Davis


Service        Texas Foster Care Monitoring - 06/21/2021 - Project                3.00   $200.00    $600.00
               Management & Planning / Cassie Davis


Service        Texas Foster Care Monitoring - 06/21/2021 - Document               3.00   $200.00    $600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 06/21/2021 - Project                2.50   $300.00    $750.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 06/21/2021 - Document               3.50   $300.00   $1,050.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 06/21/2021 - Meetings with          2.25   $325.00    $731.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 06/21/2021 - Document               4.75   $325.00   $1,543.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/21/2021 - Document               1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/21/2021 - Document               2.00   $395.00    $790.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 06/21/2021 - Document               0.50   $395.00    $197.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 06/21/2021 - Document               1.33   $250.00    $332.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 06/21/2021 - Document               6.67   $250.00   $1,667.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 06/21/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/21/2021 - Project                1.00   $425.00    $425.00
               Management & Planning / Deborah Fowler




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Service        Texas Foster Care Monitoring - 06/21/2021 - Project               2.00   $425.00    $850.00
               Management & Planning / Deborah Fowler


Service        Texas Foster Care Monitoring - 06/21/2021 - Project               2.00   $395.00    $790.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 06/21/2021 - Meetings with         1.50   $395.00    $592.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 06/21/2021 - Document              7.33   $395.00   $2,895.35
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 06/21/2021 - Document              7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 06/21/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 06/21/2021 - Report and            4.00   $250.00   $1,000.00
               Document Preparation / Veronica Lockett-Villalpando


Service        Texas Foster Care Monitoring - 06/21/2021 - Document              2.50   $200.00    $500.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/21/2021 - Document              3.18   $200.00    $636.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/22/2021 - Document              6.50   $300.00   $1,950.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 06/22/2021 - Document              9.25   $325.00   $3,006.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/22/2021 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 06/22/2021 - Document              8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 06/22/2021 - Document              1.50   $200.00    $300.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 06/22/2021 - Document              5.50   $200.00   $1,100.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 06/22/2021 - Document              5.50   $250.00   $1,375.00
               Review/Data Analysis/Verification Work / Shay Price




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Service        Texas Foster Care Monitoring - 06/22/2021 - Document         5.00   $395.00   $1,975.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 06/22/2021 - Document         4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/22/2021 - Document         1.25   $325.00    $406.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/22/2021 - Document         5.25   $250.00   $1,312.50
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/22/2021 - Document         4.00   $425.00   $1,700.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 06/22/2021 - EVE/WKND         1.50   $425.00    $637.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/22/2021 - Document         5.50   $395.00   $2,172.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 06/22/2021 - Document         5.50   $250.00   $1,375.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 06/22/2021 - Document         5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/22/2021 - Document         1.75   $200.00    $350.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/23/2021 - Project          1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 06/23/2021 - Document         5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 06/23/2021 - Document         2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 06/23/2021 - Document         5.50   $200.00   $1,100.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 06/23/2021 - Document         7.50   $325.00   $2,437.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/23/2021 - Document         5.50   $250.00   $1,375.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 06/23/2021 - Document         5.00   $395.00   $1,975.00
               Review/Data Analysis/Verification Work / Beth Mitchell


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Service        Texas Foster Care Monitoring - 06/23/2021 - Document               0.50   $325.00    $162.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/23/2021 - Document               2.90   $325.00    $942.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/23/2021 - Document               1.75   $325.00    $568.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/23/2021 - Document               0.75   $325.00    $243.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/23/2021 - Document               0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/23/2021 - Document               2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/23/2021 - Document               1.75   $250.00    $437.50
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/23/2021 - Document               4.00   $425.00   $1,700.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 06/23/2021 - EVE/WKND               1.50   $425.00    $637.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/23/2021 - Document               5.92   $395.00   $2,338.40
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 06/23/2021 - Document               5.75   $325.00   $1,868.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 06/23/2021 - Meetings with          0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 06/23/2021 - Document               2.83   $250.00    $707.50
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 06/23/2021 - Document               1.75   $250.00    $437.50
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 06/23/2021 - Document               5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Adrian Gaspar




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Service        Texas Foster Care Monitoring - 06/24/2021 - Meetings with         4.50   $250.00   $1,125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 06/24/2021 - Project               2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 06/24/2021 - Meetings with         1.50   $200.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Cassie
               Davis


Service        Texas Foster Care Monitoring - 06/24/2021 - Document              5.50   $200.00   $1,100.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 06/24/2021 - Document              2.50   $250.00    $625.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 06/24/2021 - Document              5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 06/24/2021 - Meetings with         1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 06/24/2021 - Document              7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/24/2021 - Document              1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 06/24/2021 - Document              6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 06/24/2021 - Document              1.00   $395.00    $395.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 06/24/2021 - Meetings with         1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 06/24/2021 - Document              1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/24/2021 - Document              6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/24/2021 - Document              1.33   $250.00    $332.50
               Review/Data Analysis/Verification Work / Mahiri Moody



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Service        Texas Foster Care Monitoring - 06/24/2021 - Meetings with          1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/24/2021 - Document               5.50   $395.00   $2,172.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 06/24/2021 - Meetings with          1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 06/24/2021 - Project                2.33   $395.00    $920.35
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 06/24/2021 - Document               1.33   $250.00    $332.50
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 06/24/2021 - Document               1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 06/24/2021 - Meetings with          1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 06/24/2021 - Meetings with          1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 06/24/2021 - Project                2.50   $200.00    $500.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/24/2021 - Project                2.50   $200.00    $500.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/24/2021 - Project                3.00   $200.00    $600.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/24/2021 - Document               8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 06/25/2021 - Document               1.52   $325.00    $494.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/25/2021 - Document               5.50   $300.00   $1,650.00
               Review/Data Analysis/Verification Work / Monica Benedict




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Service        Texas Foster Care Monitoring - 06/25/2021 - Meetings with         1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 06/25/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 06/25/2021 - Document              6.50   $325.00   $2,112.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/25/2021 - Meetings with         1.50   $395.00    $592.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 06/25/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/25/2021 - Document              1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/25/2021 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/25/2021 - Project               3.75   $395.00   $1,481.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 06/25/2021 - Document              5.17   $395.00   $2,042.15
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 06/25/2021 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 06/25/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 06/26/2021 - EVE/WKND              0.67   $425.00    $284.75
               Meetings with agency leadership, staff, clients, conference
               calls, time spent with team, plaintiffs consultants or other
               providers. / Deborah Fowler


Service        Texas Foster Care Monitoring - 06/26/2021 - Document              2.00   $395.00    $790.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 06/26/2021 - EVE/WKND              6.50   $425.00   $2,762.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler




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Service        Texas Foster Care Monitoring - 06/27/2021 - Document              3.25   $395.00   $1,283.75
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 06/27/2021 - EVE/WKND              4.00   $425.00   $1,700.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/28/2021 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 06/28/2021 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 06/28/2021 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 06/28/2021 - Meetings with         1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Cassie
               Davis


Service        Texas Foster Care Monitoring - 06/28/2021 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 06/28/2021 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 06/28/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/28/2021 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/28/2021 - Meetings with         1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 06/28/2021 - Document              7.42   $325.00   $2,411.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/28/2021 - Meetings with         0.50   $395.00    $197.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell




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Service        Texas Foster Care Monitoring - 06/28/2021 - Meetings with            0.75   $325.00    $243.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 06/28/2021 - Document                 4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/28/2021 - Document                 8.08   $395.00   $3,191.60
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 06/28/2021 - Project                  2.08   $395.00    $821.60
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 06/28/2021 - Meetings with            1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 06/28/2021 - Meetings with            0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 06/28/2021 - Meetings with            0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 06/28/2021 - Document                 5.50   $250.00   $1,375.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 06/28/2021 - Meetings with            1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 06/28/2021 - Document                 7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 06/29/2021 - Meetings with            1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 06/29/2021 - Meetings with            0.63   $200.00    $126.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Cassie
               Davis




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Service        Texas Foster Care Monitoring - 06/29/2021 - Meetings with          0.87   $200.00    $174.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Cassie
               Davis


Service        Texas Foster Care Monitoring - 06/29/2021 - Document               6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 06/29/2021 - Project                2.50   $300.00    $750.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 06/29/2021 - Meetings with          1.00   $300.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 06/29/2021 - Document               4.50   $300.00   $1,350.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 06/29/2021 - Meetings with          1.75   $325.00    $568.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 06/29/2021 - Document               7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/29/2021 - Document               1.17   $300.00    $351.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 06/29/2021 - Meetings with          0.83   $250.00    $207.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 06/29/2021 - Document               6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/29/2021 - Judicial               0.67   $395.00    $264.65
               Proceeding / Beth Mitchell


Service        Texas Foster Care Monitoring - 06/29/2021 - Document               1.00   $395.00    $395.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 06/29/2021 - Document               1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 06/29/2021 - Meetings with          0.50   $325.00    $162.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster




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Service        Texas Foster Care Monitoring - 06/29/2021 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 06/29/2021 - Document                 3.50   $325.00   $1,137.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/29/2021 - Meetings with            1.42   $395.00    $560.90
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 06/29/2021 - Document                 8.67   $395.00   $3,424.65
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 06/29/2021 - Project                  1.58   $395.00    $624.10
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 06/29/2021 - Meetings with            1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 06/29/2021 - Meetings with            1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 06/29/2021 - Document                 6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 06/29/2021 - Meetings with            0.67   $250.00    $167.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 06/29/2021 - Document                 7.33   $250.00   $1,832.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 06/29/2021 - Judicial                 1.00   $200.00    $200.00
               Proceeding / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/29/2021 - Project                  1.00   $200.00    $200.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 06/29/2021 - Meetings with            8.00   $425.00   $3,400.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 06/30/2021 - Document                 1.54   $300.00    $462.00
               Review/Data Analysis/Verification Work / Robert McManus


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Service        Texas Foster Care Monitoring - 06/30/2021 - Document               0.33   $300.00     $99.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 06/30/2021 - Project                3.50   $300.00   $1,050.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               3.00   $300.00    $900.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               0.50   $300.00    $150.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               0.68   $300.00    $204.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               0.43   $300.00    $129.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               1.00   $395.00    $395.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               0.50   $325.00    $162.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/30/2021 - Meetings with          0.25   $325.00     $81.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               0.25   $325.00     $81.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               2.25   $325.00    $731.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               0.25   $325.00     $81.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 06/30/2021 - Document               7.75   $395.00   $3,061.25
               Review/Data Analysis/Verification Work / Linda Brooke


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Service           Texas Foster Care Monitoring - 06/30/2021 - Document                   8.00            $250.00             $2,000.00
                  Review/Data Analysis/Verification Work / Veronica Lockett-
                  Villalpando


Service           Texas Foster Care Monitoring - 06/30/2021 - Document                   6.00            $250.00             $1,500.00
                  Review/Data Analysis/Verification Work / Shay Price


Service           Texas Foster Care Monitoring - 06/30/2021 - Document                   1.75            $250.00               $437.50
                  Review/Data Analysis/Verification Work / Shay Price


Service           Texas Foster Care Monitoring - 06/30/2021 - Meetings with              2.00            $425.00               $850.00
                  agency leadership, staff, clients, conference calls, time spent
                  with team, plaintiffs consultants or other providers. / Deborah
                  Fowler


                                                                                                 Amount Due            $371,339.5 4




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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Expense Report for Invoice                                                Texas Appleseed
#23


06/22/2021                                $108.17

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Linda Brooke
Meal for 4 monitors




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06/22/2021                                    $49.28

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Linda Brooke
Travel (3 monitors) to and from Conroe CPS office
[88.0 miles]


06/23/2021                                    $42.56

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Linda Brooke
travel to Houston point of entry, Houston Strong,
Pearland CPS, Return [76.0 miles]


06/23/2021                                   $127.87

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Linda Brooke
Meal for 4 monitors




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06/30/2021                                $154.56

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Linda Brooke
Travel to CPS Stemmons Fwy; Buckner; hotel [276.0
miles]


06/30/2021                                $157.69

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Linda Brooke
Hotel for Dallas monitoring




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06/30/2021                                $157.69

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Shay Price
CWOP Visit hotel stay




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